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                                   STATEMENT OF FACTS

        Your affiant, is a Special Agent with the Federal Bureau of Investigation (FBI) and I am
currently assigned to the FBI Washington Field Office (“WFO”) in Washington, D.C. Currently,
I am a tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of violations of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                      Evidence Linking SHALVEY to Assault on the U.S. Capitol

        On and around January 18, 2021, FBI Pittsburgh Division received multiple tips that an
individual by the name of DALE (“DJ”) SHALVEY was captured in images of the unlawful
activity that occurred on January 6, 2021 in and around the Capitol building. 1

        As a result of these tips, FBI interviewed two individuals 2 who identified SHALVEY as
an individual inside the Capitol building and in the Senate chamber. Person-1 has known
SHALVEY for a significant period of time. On January 6, 2021, Person-1 received
texts/communications directly from SHALVEY via cell phone, during which SHALVEY
appeared to be filming from inside the Capitol building with his cell phone. Person-1 knew that
these messages were coming from SHALVEY because IT previously communicated with
SHALVEY on the phone number the communications were sent from and IT immediately
recognized SHALVEY in the images and videos. In two videos sent to Person-1, which appear to
be filmed by SHALVEY, SHALVEY films the interior areas of the Capitol, to include the Senate
floor. In both videos, SHALVEY pans the camera so that his face can be seen. In the images,
SHALVEY is wearing tactical, Army-green clothing, a helmet, and gear. Person-1 also reviewed
text messages and photographs from SHALVEY that appear to depict official correspondence that
was handled by SHALVEY from at least one of the desks in the Senate chamber. These
communications and videos were provided to and preserved by FBI.

        Below are screen captures from the videos received by Person-1 depicting SHALVEY
inside the Capitol. The image on the left appears to have been filmed on the Senate floor. The
image on the right appears to have been filmed in a hallway of the Capitol. During this video,
SHALVEY can be heard yelling, “Fuck yeah!” as he proceeds through the hallway.




1
 Based on a review of DMV records, SHALVEY’s full name is DALE JEREMIAH SHALVEY, of Bentleyville,
PA.
2
 Law Enforcement also interviewed a third person, Person-3, who provided information substantially similar to that
of Person-2. However, Person-3 was a more distant acquaintance of SHALVEY. Persons 1-3 each knew that
SHALVEY’s name was Dale, aka “DJ” and knew him to be from the Wheeling, West Virginia area.
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        FBI also interviewed Person-2, who has known SHALVEY since they attended high school
in West Virginia together. Person-2 reviewed public source video of individuals inside the Capitol
and sent screen captures to FBI identifying the individual in the images in the green tactical gear
as SHALVEY. Person-2 is highly confident that the person in the green jacket and green hard-hat
was SHALVEY. Person-2 also identified SHALVEY by his voice on the video when he appears
to be saying something to the effect that Ted Cruz “was going to sell us out all along” after
reviewing papers on a Senate desk. Person-2 also sent FBI a black and white photo from
SHALVEY’s Facebook business page, identifying the male in the photo as SHALVEY. Below
are screen captures sent by Person-2 to FBI.




    Below are screen captures of publicly posted videos showing a male matching
SHALVEY’s description on the Senate floor, holding documents from one of the Senate desks.
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        In these publicly posted videos, the individual identified by Person-1 and Person-2
wearing the green tactical gear is captured on video appearing to review official congressional
notes and documents which are believed to detail the objections and votes of certain congressional
members on the certification of electoral results. More specifically, the individual read from a
document that indicated Senator Ted Cruz objected to the certification of the electoral votes of the
State of Arizona. Upon reading this information the individual in green stated “He was going to
sell us out all along.” Another unidentified co-conspirator then stated, “No, that’s a good thing.
That’s a good thing.” The individual in green responded that he was “mixed up” and appeared to
acknowledge his mistake.

        Based on the aforementioned evidence, there is probable cause to believe that SHALVEY
was present inside the U.S. Capitol on January 6, 2021 during the riot and related offenses that
occurred at the U.S. Capitol Building, located at 1 First Street, NW, Washington, D.C., 20510 at
latitude 38.88997 and longitude -77.00906 on January 6, 2021 and participated in the obstruction
of the Congressional proceedings.

        Accordingly, your affiant submits that there is probable cause to believe that SHALVEY
violated 18 U.S.C. § 1512(c)(2), which makes it a crime to corruptly obstruct, influence and
impede an official proceeding, that is, a proceeding before Congress, by entering and remaining in
the United States Capitol without authority and committing an act of civil disorder, engaging in
disorderly and disruptive conduct, and attempting to do so.

         Your affiant submits that there is also probable cause to believe that SHALVEY violated
18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; or attempts or conspires to do so. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
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the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.


        Your affiant submits there is also probable cause to believe that SHALVEY violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      David E. Johnson, Special Agent
                                                      FBI


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 12th day of February 2021.
                                                                             2021.02.12
                                                                             14:31:58 -05'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
